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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

              DEMARKUS TAYLOR,
                                     Plaintiff,                           CIVIL ACTION FILE NO.
                               v.                                         1:18-cv-0924-TCB
              ALLY FINANCIAL INC.,
                                     Defendant.

                                                           ORDER


                    The parties having announced that this case has settled, the Court hereby

             DIRECTS the Clerk to administratively close the case and terminate any pending

             motions. The parties shall file a dismissal upon finalization of the settlement

             documents. If settlement negotiations fail, the parties should promptly move to

             reopen the case.1

                    SO ORDERED this 25th day of June, 2018.



                                                           _________________________________
                                                           TIMOTHY C. BATTEN, SR.
                                                           UNITED STATES DISTRICT JUDGE



                    1
                       Administratively closing a case is a docket control device used by the Court for statistical
             purposes. The parties need only file a motion to reopen the case if settlement negotiations fail. In
             addition, this Order will not prejudice the rights of the parties to this litigation in any manner.




AO 72A
(Rev.8/82)
